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 6 Attorneys for Plaintiff
   United States of America
 7

 8                                IN THE UNITED STATES DISTRICT COURT

 9                               FOR THE EASTERN DISTRICT OF CALIFORNIA

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11   UNITED STATES OF AMERICA,                           CASE NO. 2:13-CR-00267-TLN
12                                 Plaintiff,            STIPULATION REGARDING EXCLUDABLE
                                                         TIME PERIODS UNDER SPEEDY TRIAL ACT;
13                          v.                           FINDINGS AND ORDER
14   FERLANDO CARTER,                                    DATE: March 27, 2014
                                                         TIME: 9:30 a.m.
15                                 Defendant.            COURT: Hon. Troy L. Nunley
16

17                                               STIPULATION

18          Plaintiff United States of America, by and through its counsel of record, and defendant, by and

19 through defendant’s counsel of record, hereby stipulate as follows:

20          1.      By previous order, this matter was set for status on March 27, 2014.

21          2.      By this stipulation, defendant now moves to continue the status conference until May 15,

22 2014, at 9:30 a.m., and to exclude time between March 27, 2014, and May 15, 2014, under Local Code

23 T4.

24          3.      The parties agree and stipulate, and request that the Court find the following:

25                  a)     The United States has represented that the discovery associated with this case

26          includes eight-eight pages of paper discovery and fifty CDs containing audio and video

27          recordings. All of this discovery has been produced directly to counsel.

28                  b)     Counsel for defendant desires additional time consult with his client, review the


      STIPULATION REGARDING EXCLUDABLE TIME              1
      PERIODS UNDER SPEEDY TRIAL ACT                                             UNITED STATES V. CARTER
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 1          discovery produced in this case, investigate the case, and discuss potential resolution of this

 2          matter with the United States.

 3                  c)     Counsel for defendant believes that failure to grant the above-requested

 4          continuance would deny him the reasonable time necessary for effective preparation, taking into

 5          account the exercise of due diligence.

 6                  d)     The United States does not object to the continuance.

 7                  e)     Based on the above-stated findings, the ends of justice served by continuing the

 8          case as requested outweigh the interest of the public and the defendant in a trial within the

 9          original date prescribed by the Speedy Trial Act.

10                  f)     For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161,

11          et seq., within which trial must commence, the time period of March 27, 2014 to May 15, 2014,

12          inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv) [Local Code T4]

13          because it results from a continuance granted by the Court at defendant’s request on the basis of

14          the Court’s finding that the ends of justice served by taking such action outweigh the best interest

15          of the public and the defendant in a speedy trial.

16          4.      Nothing in this stipulation and order shall preclude a finding that other provisions of the

17 Speedy Trial Act dictate that additional time periods are excludable from the period within which a trial

18 must commence.

19          IT IS SO STIPULATED.

20
21
     Dated: March 24, 2014                                    BENJAMIN B. WAGNER
22                                                            United States Attorney
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                                                              /s/ JUSTIN L. LEE
24                                                            JUSTIN L. LEE
                                                              Assistant United States Attorney
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      STIPULATION REGARDING EXCLUDABLE TIME               2
      PERIODS UNDER SPEEDY TRIAL ACT                                              UNITED STATES V. CARTER
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 1
     Dated: March 24, 2014                           /s/ DOUGLAS BEEVERS
 2                                                   DOUGLAS BEEVERS
                                                     Counsel for Defendant
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                                                     Ferlando Carter
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 7                                       FINDINGS AND ORDER

 8         IT IS SO FOUND AND ORDERED this 27th day of March, 2014.

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13                                                      Troy L. Nunley
                                                        United States District Judge
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      STIPULATION REGARDING EXCLUDABLE TIME      3
      PERIODS UNDER SPEEDY TRIAL ACT                                   UNITED STATES V. CARTER
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